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Form JTG03 (01/15)
                                             United States Bankruptcy Court
                                              Western District of Michigan
                                                  One Division Ave., N.
                                                        Room 200
                                                 Grand Rapids, MI 49503


IN RE: Debtors (names used by the debtors in the last 8
years, including married, maiden, trade, and address):
                                                                             Case Number 17−05205−jtg
          Michael Damian Dauser
          430 Knapp NE                                                       Chapter 13
          Grand Rapids, MI 49505
          SSN: xxx−xx−1456                                                   Honorable John T. Gregg
          Ila Fay Dauser
          430 Knapp NE
          Grand Rapids, MI 49505
          SSN: xxx−xx−3386
                                                        Debtors



                           NOTICE TO PARTIES IN INTEREST OF HEARING

  YOU ARE HEREBY NOTIFIED THAT A HEARING will be held at the United States Bankruptcy Court
One Division Ave., N., 3rd Floor, Courtroom C, Grand Rapids, MI 49503 on December 12, 2019 at 10:00
AM to consider and act upon the following matter:

                            DEBTORS' AMENDMENT TO CHAPTER 13 PLAN (DN 53 )


The Debtors' amendment was filed on 10/24/19 . Wells Fargo Bank, NA filed an objection to the
amendment on 11/5/19 .




                                                                  Michelle M. Wilson
                                                                  CLERK OF BANKRUPTCY COURT



Dated: November 7, 2019                                           /S/
                                                                  V. Wyn
                                                                  Deputy Clerk


A copy of this Notice was returned to Debtor for appropriate service ( 11/7/19 − vkw )


NOTICE IS HEREBY GIVEN THAT THE COURT MAY, in its discretion, orally continue or adjourn the above hearing on the
record in open court. If this occurs, parties in interest will not be given further written notice of the continued or adjourned
hearing. If an entity is not present at the originally scheduled hearing, information regarding the time, date and place of an orally
continued or adjourned hearing may be accessed through the Bankruptcy Court's web site (www.miwb.uscourts.gov) provided
the person has a PACER login and password, or by visiting the clerk's office of the United States Bankruptcy Court located at
One Division Avenue, N.W., 2nd Floor, Grand Rapids MI 49503. Information about a PACER login and password may be
obtained by either calling PACER service center between 8:00 a.m. and 6:00 p.m. Monday through Friday, CST at (800)
676−6856 or via its web site at http://pacer.psc.uscourts.gov
